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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                                  Crim. No. 06-87(5) (PAM/SRN)

                               Plaintiff,

v.                                                                                 ORDER

Debra Renae Jackson,

                               Defendant.


         This matter is before the Court on Defendant Debra Renae Jackson’s Motion to

Amend the Judgment. Defendant asks the Court to modify her restitution obligation to

alleviate undue financial hardship associated with the Bureau of Prisons’ policy that she pay

$50 per month during her incarceration. Having assessed Defendant’s ability to pay, the

Court GRANTS her Motion to Amend (Docket No. 447) and orders that the Judgment be

AMENDED as follows:

         Payment of the total criminal monetary penalties are due as follows: It is
         recommended that defendant participate in the Inmate Financial Responsibility
         Program while incarcerated. The defendant shall not be required to pay more
         than $25 per quarter in restitution during incarceration. Payments of no more
         than $25 per quarter if working non-UNICOR or UNICOR are to be made.
         Payments of any remaining balance is due in monthly installments of not less
         than $50 per month over a period of three years commencing 30 days after
         release from confinement. . . .


Dated:     February 11, 2008
                                                  s/Paul A. Magnuson
                                                  Paul A. Magnuson
                                                  United States District Court Judge
